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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 23-20150-CR-ALTMAN/REID

  UNITED STATES OF AMERICA,

  v.

  SZU TA WU,

         Defendant.
                                                 /

                REPORT AND RECOMMENDATION ON CHANGE OF PLEA

         This matter is before the Court upon the Honorable Roy K. Altman’s Order of Referral

  [ECF No. 11], to conduct a Change of Plea Hearing for Defendant Szu Ta Wu in this case. The

  Court having conducted the Change of Plea Hearing on May 5, 2023, to determine whether

  Defendant has knowingly and voluntarily entered a guilty plea, RECOMMENDS that

  Defendant’s change of plea be accepted for the following reasons:

         1.      The Court convened a hearing to permit Defendant to enter a change of plea. At the

  outset of the hearing, Defendant was advised of his right to have these proceedings conducted by

  the district judge assigned to his case. Additionally, it was explained that the district judge assigned

  to this case would be the sentencing judge and conduct the sentencing hearing, and would make

  all findings and rulings concerning Defendant’s sentence, and decide whether to accept the

  Government’s recommendations as to sentencing.

         2.      Defendant was informed that he did not have to permit a federal magistrate judge

  to conduct the Change of Plea Hearing and could request that the Change of Plea Hearing be

  conducted by the district judge assigned to the case. Defendant, his attorney, and the Government

  all consented on the record to the Undersigned conducting the hearing.

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         3.      Further, the Undersigned inquired into whether Defendant had ever been treated for

  mental health or addiction issues, and whether he was under the influence of any prescribed or

  proscribed substances at the time of the Hearing. He denied any mental health or addiction issues

  and stated he was able to fully understand the proceedings. Based on Defendant’s responses to

  these inquires, the Court determined Defendant was competent and able to fully understand the

  proceedings.

         4.      The Court conducted a plea colloquy in accordance with Fed. R. Crim. P. 11.

         5.      The parties entered into a written plea agreement in this case. The Undersigned

  reviewed the plea agreement on the record and the Defendant acknowledged on the record that he

  had signed and understood it. Defendant pleaded guilty to a one-count felony Indictment charging

  him with smuggling wildlife into the United States in violation of 18 U.S.C. § 545.

         6.      The Court ensured that Defendant understood the terms of the plea agreement and

  that the plea agreement represented, in its entirety, the understanding Defendant has with the

  Government.

         7.      The Government stated on the record a factual basis for the entry of the plea that

  included all essential elements of the offense to which Defendant is pleading guilty and any

  sentencing enhancement and/or aggravating factors that may be applicable. Specifically, the Court

  reviewed with Defendant the Government’s factual proffer, to assure that a factual basis for the

  entry of the plea exists. Defendant assented to the accuracy of the proffer and acknowledged his

  participation in the offense.

         8.      Further, the Court reviewed with Defendant the possible minimum and maximum

  penalties for the charged offense. Defendant acknowledged that he understood these possible

  penalties. Defendant was further advised that the Court may impose a statutory maximum term of



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  imprisonment of up to twenty years, followed by a term of supervised release of up to three years.

  The Court also advised Defendant that in addition to a term of imprisonment and supervised

  released, the Court may impose a fine of up to $250,000.00 and may order restitution, forfeiture,

  and will impose a special assessment in the amount of $100. Additionally, the Defendant was

  informed, and agreed, that he would forfeit to the United States any right, title, and interest to any

  property constituting, or derived from, proceeds obtained, directly or indirectly, as the result of the

  subject offense, pursuant to 18 U.S.C. § 982(a)(2)(B), and any merchandise introduced into the

  United States as a result of the subject offense, or the value thereof, pursuant to 18 U.S.C. § 545.

  The property subject to forfeiture includes, but is not limited to: (a) 21 juvenile parrots identified

  as Amazona auropalliata (commonly known as the Yellow-Naped Parrot) species; and (b) 3

  juvenile parrots identified as Amazona autumnalis (commonly known as Red-Lored Parrot)

  species.

         9.      Defendant acknowledged that he had reviewed the Indictment, discussed the charge

  against him with his attorney, and was satisfied with the legal representation he received, and had

  a full opportunity to discuss the facts of the case with his attorney.

         10.     Based upon the foregoing and the plea colloquy conducted by the Court, it is

  recommended that Defendant be found to have freely and voluntarily pleaded guilty as to Count 1

  of the Indictment and that Defendant be adjudicated guilty of the offense charged.

         11.     A pre-sentence investigation report is being prepared. Sentencing will be before

  District Judge Roy K. Altman.




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                                            CONCLUSION

         For the foregoing reasons, it is RECOMMENDED that Defendant’s guilty plea be

  accepted, Defendant be adjudicated guilty as to Count 1 of the Indictment to which he has entered

  a plea of guilty, and that a sentencing hearing be conducted for final disposition of this matter.

         Objections to this Report may be filed with the district judge within five (5) days of receipt

  of a copy of the Report. Failure to timely file objections waives a party’s right to review issues

  related to the Defendants’ plea under Fed. R. Crim. P. 11 before the District Judge or the Court of

  Appeals. See Fed. R. Crim. P. 59(b)(1), (2); 11th Cir. R. 3-1; Harrigan v. Metro-Dade Police Dep’t

  Station #4, 977 F.3d 1185, 1191–92 (11th Cir. 2020); 28 U.S.C. § 636(b)(1)(C).

         SIGNED this 5th day of May, 2023.




                                                LISETTE M. REID
                                                UNITED STATES MAGISTRATE JUDGE



  cc:    United States District Judge Roy K. Altman;

         All Counsel of Record




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